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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF OREGON
MEDFORD DIVISION

MARIO ROEDERER, individually, and on
behalf of FLOWJO, LLC, an Oregon
Limited Liability Company,

Plaintiffs, No. 13-cv-1021

)
)
)
)
)
)
Vv. )
)
ADAM TREISTER, individually, and )
TREE STAR, INC., an Oregon corporation, _)
)

Defendants. )

STATEMENT OF PROSPECTIVE RECIPIENT OF
CONFIDENTIAL MATERIAL

I, Coney Mteg,hereby acknowledge and agree:

1. I have read the Stipulated Protective Order and I understand the terms of that
agreement, and I have been furnished a copy of that agreement for my records.

2. I understand that that agreement pertains to CONFIDENTIAL material furnished
in connection with proceedings in a lawsuit identified as: Mario Roederer v. Adam Treister and
Tree Star, Inc., pending in the United States District Court for the District of Oregon, Medford
Division as Case No. 13 CV 1021.

3. I anticipate becoming involved in proceedings related to that lawsuit and, as part
of the involvement, having material identified as CONFIDENTIAL being disclosed to me.

4. I hereby agree to be bound by the provisions of the Stipulated Protective Order
and to accord to all CONFIDENTIAL material the confidentiality and protection from
disclosure required by that agreement.

3: I consent to the jurisdiction of the United States District Court for the District of
Oregon, Medford Division, for the sole purpose of enforcing the Stipulated Protective Order
and this Statement of Prospective Recipient of Confidential Material.

6. I agree that promptly following a request by any Party who furnishes to me any

CONFIDENTIAL material, I will deliver to that Party (i) all such material and (ii) all copies,
reproductions, extracts, abstracts, notes, and summaries of the contents of such material.

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7. I understand that a violation of the terms of the Stipulated Protective Order and
this Statement of Prospective Recipient of Confidential Material might subject me to sanctions
for contempt of court or other sanctions.

8. The words and terms that are defined in the Stipulated Protective Order when
used in this Statement of Prospective Recipient of Confidential. Material shall have the same
meaning as they have in the Stipulated Protective Order.

 

 

 

So agreed:
Novemtep #
Dated: October _—, 2013
ignature
Coney Mares
Printed Name
Name of Employer: K P MD 6 LL P
Employer’s Address: Ato E.Randoctit De. ; CH Abd, Fe 606 o/

 

Employer’s Telephone No. Gi D 6bs-— Sten

 

Residence Telephone No. (3a bbs" -/456

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Exhibit 2
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